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 5                              UNITED STATES DISTRICT COURT
 6                            NORTHERN DISTRICT OF CALIFORNIA
 7                                      SAN FRANCISCO DIVISION
 8
     SANDRA LEE JACOBSON,                                    Case No. 5:14-cv-00735 LHK (NC)
 9
                           Plaintiff,
10                                                           ORDER SETTING SETTLEMENT
                   v.                                        CONFERENCE
11
12   PERSOLVE, LLC, et al.,
13                          Defendants.
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16          This case was referred to this Court by District Judge Lucy H. Koh for a settlement
17   conference. The conference will be held on September 25, 2014 at 9:30 a.m. at a location to be
18   determined at the San Jose Courthouse, 280 South First Street, San Jose. If a party is unable to
19   participate in the conference on this date, that party must meet and confer with opposing counsel
20   to find another date on which all parties are available and then contact courtroom deputy Lili
21   Harrell as soon as possible at Lili_Harrell@cand.uscourts.gov or 415.522.2039. Please see this
22   Court’s Settlement Conference Standing Order for more information.
23          IT IS SO ORDERED.
24          DATED: July 8, 2014
25                                                               ____________________________
                                                                 NATHANAEL M. COUSINS
26                                                               United States Magistrate Judge
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     ORDER SETTING SETTLEMENT CONFERENCE
